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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                                Plaintiff,             )     8:08CR414
                                                       )
                       vs.                             )     FINAL ORDER OF
                                                       )     FORFEITURE
                                                       )
MANUEL MENDOZA,                                        )
BENEDICTO GALVEZ,                                      )
                                                       )
                                Defendants.            )


       NOW ON THIS 10th day of August, 2009, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

       1. On June 3, 2009, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 841(a)(1), 841(b)(1) and 853, based upon the

Defendants’ pleas of guilty to Counts I and II of the Indictment and Information filed herein. By

way of said Preliminary Order of Forfeiture, the Defendants’ interest in $1,475.00 in United States

currency were forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official Government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on June 8, 2009, as required by

Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and Asset Forfeiture

Claims. A Declaration of Publication was filed herein on August 10, 2009 (Filing No. ).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.
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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $1,475.00 in United States currency, held by any

person or entity, is hereby forever barred and foreclosed.

       C. The subject $1,475.00 in United States currency, be, and the same hereby is, forfeited to

the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 10th day of August, 2009

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
